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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
Brian Whitaker
                                                Plaintiff(s)                     2:19-cv-04112-AB-JC
                              v.
                                                                      ADA DISABILITY ACCESS LITIGATION:
                                                                        [PROPOSED] ORDER GRANTING
7261 Melrose Avenue LLC, et al.
                                                                           APPLICATION FOR STAY
                                              Defendant(s)                 AND EARLY MEDIATION

The Court has considered the recently filed Application for Stay and Early Mediation, and hereby ORDERS:

1.    This action is STAYED as to NATUREWELL No. 2, Inc.
      for a period of ninety (90) days from the date of the filing of this Order, unless otherwise ordered by the
      Court.
2.    This case is referred to:
       ✔    ADR PROCEDURE NO. 1: Magistrate Judge assigned to the case for such settlement proceedings
            as the judge may conduct or direct.
            ADR PROCEDURE NO. 2: This case is referred to the ADR Program. Within twenty-one (21)
            days, plaintiff shall obtain the consent of a Mediator listed on the Court’s Mediation Panel who will
            conduct the mediation, and file form ADR-2, Stipulation Regarding Selection of Mediator. If the
            parties have not selected and obtained the consent of a Panel Mediator within twenty-one (21) days,
            the ADR Program (213-894-2993) will assign one. Forms and a list of the Panel Mediators are
            available on the Court's website, www.cacd.uscourts.gov. Absent extraordinary circumstances,
            parties cannot request a continuance within three (3) business days of a scheduled mediation.
            The ADR proceeding is to be completed no later than: October 10, 2019                                       .

3.    Within fourteen (14) days of the date of this Order, Plaintiff shall file with the Court and serve on
      Defendant(s) a statement (“Plaintiff’s Case Statement”) that includes the following:
      a. An itemized list of specific conditions on the subject premises that are the basis of the claimed
         violations of the ADA; and
      b. An itemized list of damages and, for each item, the amount sought.
4.    If Defendant claims to have remedied any or all of the violation(s) identified by Plaintiff, or asserts that no
      violation exists, that Defendant shall file with the Court and serve on Plaintiff evidence showing the
      correction or absence of violation(s) at least ten (10) days before the date set for the early mediation.
5.    The parties shall file with the Court a Joint Status Report no later than seven (7) days after the ADR
      proceeding is completed advising the Court of the status of the alleged ADA violations and their
      mediation efforts.


Date: 08/12/2019
                                                               United
                                                                nited
                                                                    d States District Judge
cc: ADR Program Director

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